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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION at LEXINGTON

JENNIFER TRAPP,                        )
                                       )
     Plaintiff,                        )
                                       )              Civil Case No.
v.                                     )               17-cv-287-JMH
                                       )
EXPERIAN INFORMATION                   )
SOLUTIONS, INC., et al.,               )                  ORDER
                                       )
     Defendants.

                                       ***

     In light of the parties’ Stipulation and the Agreed Order

Dismissing with Prejudice as to Defendant Collection Bureau of

Fort Walton Beach, Inc. [DE 71], IT IS ORDERED:

     (1)    that the claims against Defendant Collection Bureau of

Fort Walton Beach, Inc., are DISMISSED WITH PREJUDICE, with each

party bearing her or its own costs and attorney’s fees.

     (2)    that    all    pending   claims    for    relief   or     motions   are

DISMISSED AS MOOT;

     (3)    that     all     scheduled        proceedings       are     CONTINUED

GENERALLY;

     (4)     that    the    Clerk    shall   STRIKE    THIS    MATTER    FROM   THE

ACTIVE DOCKET.

     This the 10th day of October, 2018.
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